                               UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                      DURHAM DIVISION
                                 CIVIL ACTION NO. 1:14-CV-386

 KISHA GORHAM, individually, and in her              )
 capacity as General Guardian for and on behalf of   )
 ANTHONY GORHAM, JR, and in her capacity             )
 as Guardian Ad Litem for and on behalf of J. H.     )
 (a minor); and SHYKEMA DEMPSEY,                     )
                                                     )
         Plaintiffs,                                 )
                                                     )
                        v.                           )                        ORDER
                                                     )
 AMUSEMENTS OF ROCHESTER, INC,                       )
 d/b/a POWERS GREAT AMERICAN                         )
 MIDWAYS, FAMILY ATTRACTIONS                         )
 AMUSEMENT, L.L.C., JOSHUA GENE                      )
 MACARONI and TIMOTHY DWAYNE                         )
 TUTTERROW,                                          )
                                                     )
         Defendants.                                 )
                                                     )
	  
	  
	       Upon consideration of Defendant Family Attractions Amusement, L.L.C.'s Motion for Extension of
Time to Respond to the Plaintiffs' Complaint and the Court being of the opinion that there is good cause to
grant the Motion hereby ORDERS:

      That the Motion is GRANTED; and it is further ORDERED that Defendant Family Attractions
Amusement, L.L.C. shall respond to the Plaintiffs' Complaint on or before June 16, 2014.

SO ORDERED this the _________ day of May, 2014.



                                                         UNITED STATES DISTRICT JUDGE




       Case 1:14-cv-00386-CCE-LPA Document 13-1 Filed 05/14/14 Page 1 of 1
